Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 1 of 22                                          PageID #: 51



                                    UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MAINE


JAMES BAINES, CHRISTOPHER                                )
LYONS, ALLEN ESPOSITO, WILLIAM                           )
SAMPSON, CODY BLACKBURN,                                 )
BONNIE YOUNG and                                         )
LIBERTARIAN PARTY OF MAINE,                              )
                                                         )
                                       Plaintiffs,       )
                                                         )
                              v.                         )                  Civil No.: 1:19-cv-00509-LEW
                                                         )
MATTHEW DUNLAP, in his official                          )
capacity as Secretary of State for the                   )
State of Maine,                                          )
                                                         )
                                       Defendant.        )
                                                         )


                    PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                             AND MEMORANDUM IN SUPPORT

           Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs James Baines, Christopher

Lyons, Allen Esposito, William Sampson, Cody Blackburn, Bonnie Young and Libertarian Party

of Maine (“LPME”) (collectively, “Plaintiffs”) respectfully move for a preliminary injunction to

enjoin Defendant Matthew Dunlap, Secretary of State of Maine (“Defendant”), from enforcing

M.R.S. 21-A §§ 301(1)(E), 304, 306 and 331(1) as applied to Plaintiffs in the 2020 election cycle.

Specifically, Plaintiffs request that the Court enter an order providing that: (1) those voters who

were registered Libertarian as of December 3, 2018 shall remain registered as Libertarian; (2)

LPME shall remain ballot-qualified for the 2020 general election; and (3) LPME shall be permitted

to select its nominees at its 2020 statewide convention rather than in Maine’s 2020 primary

election.1




1
    Hereinafter all statutory citations are to the Maine Revised Statutes unless otherwise indicated.
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 2 of 22                       PageID #: 52



       In support of this motion, Plaintiffs submit the following evidence attached hereto: Exhibit

1 – Declaration of Christopher Lyons; Exhibit 2 – Libertarian Party of Maine, et al. v. Dunlap, et

al. (“LPME I”), No. 2:16-cv-00002-JAW (D. Me. 2016) (unpublished order); Exhibit 3 –

Declaration of James Baines; Exhibit 4 – Declaration of Oliver B. Hall; Exhibit 5 – List of LPME

Members Unenrolled on December 3, 2018 (“Voter List”); Exhibit 6 – Declaration of Cody

Blackburn; Exhibit 7 – Memorandum of Julie L. Flynn (“Flynn Mem.”); Exhibit 8 – Declaration

of Bonnie Young; Exhibit 9 – Declaration of Richard Winger; Exhibit 10 – Transcript, Deposition

of Julie L. Flynn); and Exhibit 11 - Amended Notice of Rule 30(b)(6) Deposition of Matthew

Dunlap.

                                        INTRODUCTION

       For the limited purpose of preserving the status quo ex ante, Plaintiffs respectfully request

that the Court enjoin Defendant from enforcing those provisions of the Maine Election Code that

prevented LPME from selecting and placing its nominees on Maine’s general election ballot (with

one exception) during the two election cycles when it was ballot-qualified under Maine law (2016

and 2018), and which thereafter operated to disqualify LPME and unenroll the 6,240 Maine voters

who registered as Libertarian. In particular, Plaintiffs request that the Court enjoin Defendant from

enforcing the following provisions against them: § 301(E) (requiring that a new party enroll 5,000

new members and ensure that at least 10,000 enrolled members vote in the first general election

following the one in which it qualifies); § 304 (disqualifying a party that fails to comply with §

301(E)); § 306 (unenrolling the members of a party disqualified pursuant to § 304); and § 331(1)

(requiring that all parties nominate by primary election). These statutory provisions, as applied in

combination with the others challenged in Plaintiffs’ Complaint, make it practically impossible for

Plaintiffs and other non-wealthy Maine voters to establish and associate with a new political party

under Maine law. As such, the challenged provisions severely burden Plaintiffs’ First and
                                                 1
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 3 of 22                                    PageID #: 53



Fourteenth Amendment rights to cast their votes effectively, to speak and associate for political

purposes, to establish and grow a political party, and their right to equal protection of the law.

Further, the challenged provisions are not reasonably tailored to protect any legitimate – much less

compelling – state interest. They serve only to freeze the political status quo in Maine.

        Plaintiffs satisfy each element required for a preliminary injunction. Most important,

Plaintiffs have a strong likelihood of success on the merits. Plaintiffs’ exclusion from the 2020

general election also constitutes irreparable harm that outweighs any conceivable injury to

legitimate state interests. In addition, the requested injunction will serve the public interest by

protecting the right of all Maine voters to cast their votes effectively in the 2020 general election.

                        FACTUAL AND PROCEDURAL BACKGROUND2

        In 2016, more than 5,000 Maine residents joined together to enroll as Libertarian voters,

thus establishing LPME as a ballot-qualified party under Maine law. (Ex. 1, Decl. of C. Lyons, ¶¶

4, 12); see § 303. The 18-month effort was arduous and expensive. (Ex. 1, Decl. of C. Lyons, ¶¶

5-12.) It cost LPME approximately $106,000 and completely exhausted the fledgling party’s

resources. (Id. at ¶ 11.) It also necessitated litigation, the result of which secured LPME’s status

as a ballot-qualified party, but only entitled LPME to place its nominees for President and Vice-

President on Maine’s 2016 general election ballot. See LPME I, at PageID 320 (attached as Ex. 2).

LPME’s candidates for President and Vice-President, Governor Gary Johnson and Governor

William Weld, received 38,105 votes in that election, or 5.1 percent of the total. (Ex. 3, Decl. of J.

Baines, ¶ 4.)

        To remain ballot-qualified under Maine law, LPME was required to double its enrollment

after the 2016 general election to at least 10,000 registered members, and to ensure that all 10,000



2
  The relevant facts are more fully set forth in Plaintiffs’ Complaint (“Compl.”) (ECF No. 1, ¶¶ 4-11, 15-50), which
is incorporated herein by reference.
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 4 of 22                                     PageID #: 54



members voted in the 2018 general election. See § 301(1)(E). Standing alone, § 301(1)(E) imposed

a severe burden, because LPME lacked the financial and other resources necessary to enroll

another 5,000 voters in a single election cycle. (Ex. 1, Decl. of C. Lyons, ¶ 13; Ex. 3, Decl. of J.

Baines, ¶ 5.) Even if LPME could have complied with that requirement, however, it faced yet

another severe burden: LPME was required to select its nominees by primary election, see § 331,

but it was mathematically impossible or near-impossible for many LPME candidates to qualify for

the primary election ballot, because the number of signatures they were required to submit

exceeded or nearly exceeded the number of voters eligible to sign their nomination petitions.

(Compl. ¶¶ 32-40; Ex. 4, Decl. of O. Hall, ¶¶ 6-7; Ex. 5, Voter List); see §§ 335(2),(5). As a result,

only one Libertarian candidate, Plaintiff Blackburn, was able to run in the primary election and

qualify for Maine’s 2018 general election ballot (as a candidate for State House in district 125),

and he did so only by enrolling new Libertarian voters who then signed his nomination petitions.

(Ex. 1, Decl. of C. Lyons, ¶ 15; Ex. 6, Decl. of C. Blackburn, ¶ 4.)

         The near-total exclusion of Libertarian candidates from Maine’s 2018 general election

ballot all but guaranteed that fewer than 10,000 Libertarian voters would vote in that election, as

required by § 301(1)(E). (Ex. 1, Decl. of C. Lyons, ¶ 16; Ex. 3, Decl. of J. Baines, ¶ 16.) Thus, in

December 2018, Defendant disqualified LPME pursuant to § 304 because it failed to comply with

§ 301(1)(E). (Ex. 7, Flynn Mem.) Defendant also unenrolled the 6,240 Maine voters who had

registered as Libertarian, contrary to the express preference indicated on their voter enrollment

cards, pursuant to § 306. (Ex. 7, Flynn Mem.; Ex. 5, Voter List.) 3 Plaintiffs attempted to qualify

LPME pursuant to § 303 prior to the 2020 election cycle, but the demonstrable futility of the

endeavor under existing Maine law hampered their effort to raise the funds and resources necessary


3
 The Flynn Memorandum states that LPME had 6,168 enrolled members as of November 6, 2018. However, the
Voter File listing LPME members unenrolled on December 3, 2018 lists 6,240 LPME members. Therefore, LPME
appears to have enjoyed significant growth in membership until it was disqualified. (Ex. 1, Decl. of C. Lyons, ¶ 17.)
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 5 of 22                                       PageID #: 55



to enroll 5,000 more voters. (Ex. 1, Decl. of C. Lyons, ¶ 18; Ex. 3, Decl. of J. Baines, ¶ 10.)

Plaintiffs’ effort therefore fell short, and LPME is not currently ballot-qualified under Maine law.

                                                  ARGUMENT

         A party seeking a preliminary injunction must establish: “(1) a likelihood of success on the

merits, (2) a likelihood of irreparable harm absent interim relief, (3) a balance of equities in [its]

favor, and (4) service of the public interest.” Maine Republican Party v. Dunlap, 324 F. Supp. 3d

202, 206 (D. Me. 2018) (citation omitted). “The first prong … is the indispensable requisite,” and

therefore, “the thrust of the decision to grant preliminary injunctive relief boils down to a

determination of whether the harm caused to the plaintiff without the injunction in light of the

plaintiff’s likelihood of success on the merits, outweighs the harm the injunction will cause the

defendant.” League of Women Voters v. Diamond, 923 F. Supp. 266, 268 (D. Me. 1996) (citations

omitted). Here, Plaintiffs satisfy each element and they are entitled to the requested injunction.


         I.       Plaintiffs Have a Strong Likelihood of Succeeding on the Merits of Their
                  Challenge to Maine’s Requirements for Forming a New Party.

         At each step in the statutory procedure for forming a new party, Maine law imposes severe

burdens on the First and Fourteenth Amendment rights of citizens who seek to engage in this

quintessentially-protected political activity – burdens that fall especially heavily upon non-wealthy

citizens such as Plaintiffs. No legitimate, much less compelling, state interest can justify the

burdens imposed. Each of these burdens is therefore individually sufficient to demonstrate the

unconstitutionality of Maine’s statutory scheme, and taken together, they overwhelmingly

establish that Plaintiffs are likely to prevail on the merits. 4


4
  Constitutional challenges to election laws are reviewed under the Supreme Court’s Anderson-Burdick analytic
framework, according to which a court must weigh “the character and magnitude of the asserted injury” to Plaintiffs’
First and Fourteenth Amendment rights against “the precise interests put forward by the State as justifications...”
Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). The severity of the burden dictates the appropriate level of scrutiny.
See Burdick v. Takushi, 504 U.S. 428, 434 (1992). Where the challenged provisions “impose ‘severe burdens’ on a
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 6 of 22                                      PageID #: 56



                  A.       Maine’s Provisions Governing the Formation of a New Party – §§
                           301(E) and 303 – Severely Burden Plaintiffs’ First and Fourteenth
                           Amendment Rights.

         Maine residents who wish to form a new political party face a heavy burden: first they must

file a declaration of intent in December of an even-numbered year – nearly two years before the

general election in which they seek to participate – and then, in the intervening off-election year,

they must enroll 5,000 voters as registered members of the party. See § 303(1),(2). They must

complete their effort by January 2nd of the next even-numbered year – 10 months before the

general election in which they seek to participate. See § 303(2).

         Conducting a voter-enrollment drive is an inherently time-consuming, labor-intensive and

expensive process. (Ex. 1, Decl. of C. Lyons, ¶¶ 5-9; Ex. 3, Decl. of J. Baines, ¶¶ 6-8.) It requires

extensive resources – including the cost of travel, food and lodging – just to locate voters

throughout the state, in sufficient numbers and in suitable public spaces, who may be willing to

enroll in the new party. (Id.) Further, using the enrollment cards required under Maine law, it takes

approximately 10 minutes to enroll a single voter. (Id.) And because voters are often unwilling to

trust their voter registration to an unknown person, many are unwilling to complete an enrollment

card, even if they support the new party’s platform. (Id.) Other voters may support the new party’s

effort to participate in the political process, but are reluctant to make the snap decision – typically

on a busy sidewalk or other public forum – to commit to joining a new party. (Id.) For all of these

reasons, conducting a voter-enrollment drive is even more burdensome than collecting signatures

on a nomination petition – a procedure that Maine no longer allows. (Id.); see § 303(3) (providing

for formation of party by petition) (repealed).


party’s associational rights, the regulation must be narrowly tailored to serve a compelling state interest to survive
constitutional scrutiny.” Maine Republican Party, 324 F. Supp. 3d at 208 (citation and quotation marks omitted). Less
exacting scrutiny applies to regulations that impose lesser burdens, see id. (citation omitted), but in every case the
asserted state interests “must be sufficiently weighty to justify” the burdens imposed. Baber v. Dunlap, 349 F. Supp.
3d 68, 78 (D. Me. 2018) (citation omitted).
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 7 of 22                       PageID #: 57



       The burden of completing a successful enrollment drive in Maine is exacerbated by the fact

that the January 2nd enrollment deadline is 159 days before the June 9, 2020 primary election and

306 days before the November 3, 2020 general election. As this Court recognized in LPME I, when

it enjoined Defendant from enforcing Maine’s then-deadline of December 2nd:

       “[T]he great weight of authority . . . has distinguished between filing deadlines well
       in advance of the primary and general elections and deadlines falling closer to the
       dates of those elections.” Libertarian Party of Ohio v. Blackwell, 462 F.3d 579, 590
       (6th Cir. 2006); see, e.g., id. at 582 (striking petition deadline for new party
       formation of 120 days before the primary election); New Alliance Party of Ala. v.
       Hand, 933 F.2d 1568, 1576 (11th Cir. 1991) (striking deadline sixty days before
       the primary and seven months before the general election); McLain v. Meier, 637
       F.2d 1159, 1163-64 (8th Cir. 1980) (striking deadline more than ninety days before
       the primary and more than 150 days before the general election); MacBride v. Exon,
       558 F.2d 443, 449 (8th Cir. 1977) (striking deadline ninety days before the primary
       and nine months before the general election); Calif. Justice Comm. v. Bowen, No.
       CV 12–3956 PA, 2012 WL 5057625, at *4-9, 2012 U.S. Dist. LEXIS 150424, at
       *16-25 (C.D. Cal. Oct. 18, 2012) (striking deadline 135 days before the primary
       and ten months before the general election); Libertarian Party of Tenn. v. Goins,
       793 F. Supp. 2d 1064, 1086-89 (M.D. Tenn. 2010) (striking deadline 120 days
       before the primary and at least eight months before the general election); Citizens
       to Establish a Reform Party in Ark. v. Priest, 970 F. Supp. 690, 697-98 (E.D. Ark.
       1996) (striking deadline five months before the primary and eleven months before
       the general election); Libertarian Party of Nev. v. Swackhamer, 638 F. Supp. 565,
       570-71 (D. Nev. 1986) (striking deadline that was effectively 140 days before the
       primary when the 90-day official deadline was added to the 50-day verification
       period).

LPME I, at PageID 301-02. “Even in the company of these invalidated deadlines,” the Court

observed, “Maine’s deadline stands out.” Id. at PageID 302. Relying on the foregoing precedent,

the Court concluded that Maine’s December 2nd enrollment deadline, as applied in combination

with other statutory provisions, imposed a “severe” burden on the plaintiffs’ rights. See id. at

PageID 309. In particular, the Court found that the deadline burdened the plaintiffs by requiring

them to demonstrate voter support during an off-election year, when “the average voter is less

focused on politics,” and by preventing them from responding to “any contentious issue raised in

the same year as an election.” Id. at PageID 308 (quoting Blackwell, 462 F.3d at 586).

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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 8 of 22                         PageID #: 58



       Maine responded to this Court’s decision in LPME I by moving the enrollment deadline

from December 2nd of the off-election year to January 2nd of the election year. See § 303(2). This

minor change did nothing to address the factors that led this Court to conclude that the deadline

imposes a severe burden: under the current deadline, Plaintiffs still must obtain the required voter

support exclusively during an off-election year, when voters are less engaged in the political

process, and they are still prevented from responding to contentious issues raised during the

election year. (Ex. 1, Decl. of C. Lyons, ¶ 9.) Consequently, the current deadline imposes a severe

burden for the same reasons that the slightly earlier deadline enjoined in LPME I did.

       Furthermore, the inherently time-consuming and labor-intensive nature of the procedure

for enrolling 5,000 voters in a new party inevitably requires a substantial expenditure of valuable

resources. (Ex. 1, Decl. of C. Lyons, ¶¶ 5-9; Ex. 3, Decl. of J. Baines, ¶¶ 6-8.) Assuming that every

single voter who is asked agreed to enroll in the new party, the process would still require

approximately 833 hours of labor. (Id.) But most voters do not agree, which means the enrollment

process itself requires significantly more than 833 hours of labor. (Id.) The process of locating

willing voters, traveling to meet them in suitable venues, setting up equipment, organizing and

delivering enrollment cards to local elections officials throughout the state requires still more hours

of labor. (Id.) As a result, a new party that attempts to rely entirely on volunteers working in the

evenings and on weekends is unlikely to succeed. (Decl. of C. Lyons, ¶¶ 5,10.) Instead, to have a

realistic chance of success, a new party must hire professional petitioners to conduct its enrollment

drive. (Id.) This necessary expense places “a particular burden” on non-wealthy citizens such as

Plaintiffs. See Anderson, 460 U.S. at 792 (striking down Ohio’s March deadline for independent

candidates). As the Court observed in Anderson, “it is especially difficult for the State to justify a

restriction that limits political participation by an identifiable political group whose members share

a particular viewpoint, associational preference, or economic status.” Id. at 793 (emphasis added).
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 9 of 22                        PageID #: 59



       Although LPME successfully completed its 2016 enrollment drive, it did so only after this

Court enjoined enforcement of the December 2nd deadline and granted the party additional time,

until July 12, 2016, to enroll more voters. See LPME I, at PageID 320. Even with the benefit of

that relief, LPME could not have succeeded without substantial financial support from Libertarian

Party supporters nationwide, which enabled it to hire professional petition circulators. (Ex. 1, Decl.

of C. Lyons, ¶¶ 5,10-11.) LPME spent at least $68,608 on paid petition circulators, and

approximately $38,000 more on travel, food, equipment, supplies and promotional events to

support the party’s growth, bringing its total costs during the 18-month enrollment drive to more

than $106,000. (Id.) The effort completely exhausted LPME’s limited resources, leaving the party

without funds or resources to support its candidates’ election campaigns, much less to conduct

another enrollment drive. (Id.; Ex. 3, Decl. of J. Baines, ¶ 5.)

       Nonetheless, under Maine law, LPME was required to do just that – to double its

enrollment to 10,000 members, and then ensure that all 10,000 members turned out to vote in the

2018 general election. See § 301(E). Standing alone, the additional voter-enrollment requirement

imposed by § 301(E) was cost-prohibitive for a new party with the limited resources of LPME, but

the burden of complying with § 301(E) was compounded by the fact that Maine’s excessive

primary election ballot access requirements made it mathematically impossible or near-impossible

for LPME to select its nominees and place them on Maine’s 2018 general election ballot. See infra

Part I.B. As a result, the voter-turnout requirement imposed by § 301(E) was itself insurmountable:

it demanded that 10,000 LPME members turn out to vote in an election in which every Libertarian

candidate was excluded from the ballot (except a single candidate for State House). Because

Libertarian voters have no rational incentive to vote in an election with no Libertarian candidates,

the near-total exclusion of LPME’s candidates from Maine’s 2018 general election ballot virtually



                                                  8
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 10 of 22                        PageID #: 60



guaranteed that it would fail to comply with § 301(E). (Ex. 1, Decl. of C. Lyons, ¶ 16; Ex. 3, Decl.

of J. Baines, ¶ 9.)

        Thus, while precedent establishes that the burden imposed by § 303 is severe based on the

excessively early enrollment deadline and the high cost of enrolling 5,000 new voters, § 301(E)

doubles that cost and requires that a new party rally 10,000 members to vote in an election in which

its candidates are functionally barred from participating. Not even the most dedicated party

members can be expected to comply with such an irrational requirement. Separately and as applied

in combination, therefore, § 303 and § 301(E) severely burden Plaintiffs’ First and Fourteenth

Amendment rights.

                B.     Maine’s Provisions Governing a New Party’s Participation in the
                       Electoral Process – §§ 331(1) and 335(2),(5) – Severely Burden
                       Plaintiffs’ First and Fourteenth Amendment Rights.

        A new party that successfully enrolls 5,000 members and becomes ballot-qualified

pursuant to § 303 immediately faces yet another obstacle to its participation in Maine’s electoral

process – one that is also practically insurmountable. The party is required to select its nominees

by primary election, see § 331(1), but the primary election ballot access requirements that Maine

imposes pursuant to § 335 are so high as to be presumptively unconstitutional as applied. To appear

on the primary election ballot, a candidate seeking the party’s nomination for President, United

States Senator or Governor must submit a petition signed by at least 2,000 eligible voters who are

enrolled members of the party. See § 335(2),(5). That requirement translates to a showing of

support from 40 percent of a new party’s 5,000 enrolled members.

        The Supreme Court has long recognized that states may require that candidates or parties

demonstrate a “modicum of support” before granting them ballot access, but it has never upheld a

state law requiring a showing of support greater than 5 percent of the voters eligible to vote for the

candidate or party. See Jenness v. Fortson, 403 U.S. 431, 442 (1971) (upholding Georgia’s
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 11 of 22                                       PageID #: 61



“somewhat higher” 5 percent signature requirement on the ground that it was “balanced” by the

state’s lack of other restrictions); see also Storer v. Brown, 415 U.S. 724, 739 (1974 ) (remanding

for a determination as to whether California’s law, as applied, would “require substantially more

than 5% of the eligible pool … [which] would be in excess, percentagewise, of anything the Court

has approved”); Williams v. Rhodes, 393 U.S. 23, 46 (1968) (Harlan, J. concurring) (concluding

that Ohio’s 15 percent signature requirement, standing alone, was unconstitutional). Following

this precedent, lower courts have, without exception, struck down laws such as § 335, which

require a showing of support greater than 5 percent of the eligible voters. 5 As the Fifth Circuit has

explained, “requirements as high as five percent are not unconstitutional per se, but requirements

substantially in excess of five percent probably are.” Dart v. Brown, 717 F. 2d 1491, 1506 (5th

Cir. 1983) (quoting L. Tribe, American Constitutional Law, 784 (1978)). The showing of support

that § 335 requires of a new party’s candidates for statewide office is therefore severely

burdensome – if not unconstitutional per se – as applied to LPME.

         Section 335 prescribes lower signature requirements for district and county offices, see §

335(5), but the burden imposed on candidates seeking LPME’s nomination for those offices is

even more severe, because the pool of eligible voters in those jurisdictions is smaller. (Ex. 4, Decl.

of O. Hall, ¶¶ 6-7; Ex. 5, Voter File.) In fact, as applied to LPME in 2018, the signature




5
  See, e.g., Lee v. Keith, 463 F.3d 763 (7th Cir. 2006) (striking down 10-percent requirement); Obie v. North Carolina
State Bd. of Elections, 762 F. Supp. 119 (E.D. N.C. 1991) (same); Greaves v. State Bd. of Elections of North Carolina,
508 F. Supp. 78 (E.D.N.C. 1980) (same); Lendall v. Jernigan, 424 F. Supp. 951 (E.D. Ark. 1977) (same); American
Party of Arkansas v. Jernigan, 424 F. Supp. 943 (E.D. Ark. 1977) (striking down 7-percent requirement); Lendall v.
Bryant, 387 F. Supp. 397 (E.D. Ark. 1974) (striking down 15-percent requirement); Socialist Labor Party v. Rhodes,
318 F. Supp. 1262 (S.D. Oh. 1970) (striking down 7-percent requirement). The same standard applies in the primary
election context. See Munro v. Socialist Workers Party, 479 U.S. 189 (1986) (upholding law requiring that candidates
in “blanket primary” receive at least 1 percent of the votes cast for the office they sought); see also Consumer Party
v. Davis, 633 F. Supp. 877, 879 (E.D. Pa. 1986) (holding primary election signature requirements unconstitutional
because they made it “effectively impossible” for small party’s candidates to appear on primary or general election
ballots); Candidacy of Independence v. Kiffmeyer, 688 NW 2d 854 (Minn. 2004) (holding primary election minimum
vote requirement unconstitutional on ground that it violated plaintiffs’ “constitutional rights to vote and to associate
for the advancement of political beliefs under the First and Fourteenth Amendments”).
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 12 of 22                                         PageID #: 62



requirements that § 335 imposed on many candidates for district and county office were

mathematically impossible or near-impossible to meet, because they exceeded or nearly exceeded

the number of eligible voters in the jurisdiction. (Compl. ¶¶ 32-40; Ex. 4, Decl. of O. Hall, ¶¶ 6-7;

Ex. 5, Voter File.) These facts are confirmed by Defendant’s own list of enrolled Libertarian voters

as of December 2018 and they are not subject to dispute. (Ex. 4, Decl. of O. Hall, ¶¶ 6-7; Ex. 5,

Voter File.) The showing of support that § 335 requires of candidates for district and county offices

is therefore also severely burdensome – if not unconstitutional per se – as applied to LPME.

         The severity of the burden imposed by § 335, as applied to LPME, is confirmed by the fact

that, with a single exception, no Libertarian candidate was able to comply with the signature

requirements it establishes. See Storer, 415 U.S. at 742 (“past experience” is a reliable indicator

of whether a ballot access law is unconstitutionally burdensome). Plaintiff Lyons, for example,

was unable to obtain the 2,000 signatures necessary to run as LPME’s candidate for U.S. Senate

in 2018 – a figure that amounted to 32.43 percent of LPME’s 6,168 enrolled members. (Ex. 1,

Decl. of C. Lyons, ¶ 14.) Not only did this requirement grossly exceed the constitutional limits

established by Supreme Court precedent, but also, Plaintiffs Lyons could not comply with it unless

he made individual appointments and traveled to meet specific voters spread throughout the state.

(Id.) Plaintiff Young was unable to run as LPME’s nominee for State House in district 121, because

§ 335 required her to obtain signatures from 25 of the 44 LPME members in that district – or 56.82

percent of the eligible voters. (Ex. 8, Decl. of B. Young, ¶¶ 4-5.) 6 This meant that Plaintiff Young

could not seek LPME’s nomination unless she first demonstrated support from a majority of the

eligible voters in her district. (Id.) Plaintiff Blackburn is the exception that proves the rule: he

complied with § 335, but only by enrolling new members in LPME who then signed his nomination


6
 Plaintiffs’ Complaint incorrectly alleges that Plaintiff Young sought to run in district 131. (Compl. ¶ 38.) In fact, she
ran in district 121. The allegations in the Complaint are nonetheless accurate with respect to an LPME candidate
running in district 131: the candidate would need support from 96.15 percent of the eligible voters in that district.
                                                           11
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 13 of 22                      PageID #: 63



petitions, and even so he was obliged to demonstrate support from 43.10 percent of the eligible

voters in his district. (Ex. 6, Decl. of C. Blackburn, ¶ 4.)

        As further confirmation that § 335 imposes a severe burden, Lisa Savage, the Maine Green

Independent Party’s 2020 candidate for United States Senate, recently announced that she was

unenrolling from the party to run as an independent, due to the “Sisyphean operational task” of

complying with the “onerous” signature requirements that § 335 imposes on smaller parties. See

Press Release, Lisa Savage’s Green Campaign to Take Independent Route to Ballot (Feb. 24,

2020), available at https://www.lisaformaine.org/green_campaign_independent_route_to_ballot

(last visited March 3, 2020). In fact, no Green Party candidate for statewide office (excluding

President and Vice-President) has complied with § 335 since at least 2006. See Dept. of the Sec.

of State, Election Results, available at https://www.maine.gov/sos/cec/elec/results/index.html (last

visited March 3, 2020). Yet the Green Party, with 43,143 enrolled members, is nearly seven times

the size that LPME was during the 2018 general election. See Dept. of the Sec. of State, Statewide

Registered and Enrolled Data File (Active Status) (as of 11/5/2019), available at

https://www.maine.gov/sos/cec/elec/data/index.html (last visited March 3, 2020). If the signature

requirements prescribed by § 335 are so onerous that they routinely exclude Green Party

candidates, they are practically impossible for a newly formed party like LPME.

        Because Maine requires that new parties like LPME nominate by primary election, see §

331(1), and because the primary election ballot access requirements that Maine imposes pursuant

to § 335 exceed the constitutional limits established by Supreme Court precedent, §§ 331(1) and

335 operated as a near-absolute bar to LPME’s participation in Maine’s 2018 general election,

despite the fact that LPME was ballot-qualified under Maine law. See § 303. Further, by preventing

LPME from selecting its nominees and placing them on the 2018 general election ballot, §§ 331(1)

and 335 virtually guaranteed that fewer than 10,000 LPME members would turn out to vote in that
                                                  12
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 14 of 22                         PageID #: 64



election, and that LPME would fall short of the requirement for remaining ballot-qualified

pursuant to § 301(E). Standing alone and as applied in combination, therefore, §§ 331(1) and 335

severely burden Plaintiffs’ First and Fourteenth Amendment rights.

               C.      Maine’s Provisions Governing the Disqualification of a New Party and
                       Unenrollment of Its Members – §§ 304 and 306 – Severely Burden
                       Plaintiffs’ First and Fourteenth Amendment Rights.

       When the inevitable transpires and a new party fails to comply with the requirements for

remaining ballot-qualified under § 301(1)(E), as LPME did, Maine law imposes what may be the

most severe burden of all: it disqualifies the party pursuant to § 304 and automatically unenrolls

its members pursuant to § 306. The party must therefore start the process of qualifying for the

ballot pursuant to § 303 all over again. It must file its declaration of intent in December of an even-

numbered year, enroll 5,000 members, and complete the process by January 2nd of the election

year in which it seeks to qualify. See § 303.

       At least one court that has considered a voter-disaffiliation provision like § 306 has found

that it imposed a “severe” burden on a minor party’s First and Fourteenth Amendment rights and

thus held it unconstitutional. See Green Party of N.Y. v. N.Y. State Bd. of Elections, 389 F.3d 411,

420 (2nd Cir. 2004). Further, in cases where courts have not expressly found that such laws impose

a severe burden, they have nonetheless held the laws unconstitutional on the ground that

recognizing a voter’s partisan preference (where the party has demonstrated a modicum of support)

imposes a negligible burden on the state in the age of computers. See, e.g., Baer v. Meyer, 728

F.2d 471, 475 (10th Cir. 1984) (state’s “nominal” burden of recognizing voter’s partisan affiliation

in computerized record insufficient to justify burden on plaintiffs’ First and Fourteenth

Amendment rights); Atherton v. Ward, 22 F. Supp. 2d 1265,                 (W.D. Ok. 1998) (state’s

“insubstantial” burden of registering and recording voter’s partisan affiliation by computer “does

not justify the heavy burden on First Amendment rights suffered by [plaintiffs]”); Council of
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 15 of 22                            PageID #: 65



Alternative Political Parties v. State, Div. of Elections (“CAPP”), 781 A.2d 1041, 1051-52 (N.J.

App. 2001) (state’s “minimal” administrative burden of recognizing voter’s partisan affiliation in

computerized voter registration system insufficient to justify “considerable, albeit not severe,

burden on plaintiffs’ First Amendment rights…”). Similarly, in this case, Defendant’s burden of

recognizing the partisan affiliation of LPME’s enrolled members is minimal, because Maine also

maintains electronic and computerized voter rolls. (Ex. 7, Flynn Mem.) But because Maine –

unlike the states in the foregoing cases – uses voter enrollment as the sole criterion by which a

party can remain ballot-qualified, see § 301(E), the burden imposed on Plaintiffs here is far more

severe.

          In both Green Party of N.Y. and Baer, the minor party plaintiffs’ injury arose from the

challenged laws’ denial of their access to information about voters who supported them. See Green

Party of N.Y., 389 F.3d at 421 (citing Baer, 728 F.2d at 475). As the Second Circuit explained:

          If an independent body does not have access to other information concerning who
          is affiliated with its party, it will be unable to determine from the word ‘unaffiliated’
          whether a particular unaffiliated voter is or is not a supporter of its organization. It
          burdens all the plaintiff parties if they cannot determine who would like to associate
          with them. That they are smaller, less developed — and hence less financially
          established parties — makes their situation even more difficult. As Anderson
          instructs, such limitation of opportunity for independent voters reduces diversity
          and competition in the marketplace of ideas.

Id. (citing Anderson, 460 U.S. at 794). The plaintiffs’ injuries in Atherton and CAPP were similar.

See Atherton, 22 F. Supp. 2d at 1268 (plaintiffs’ injury arose because state “prevents them from

obtaining and using particularized voter information in the manner enjoyed by those who belong

to recognized political parties”); CAPP, 781 A.2d at 1045 (plaintiffs’ injury arose from state’s

denial of “essential information” they could use for “campaign and party-building activities,

including canvassing and fundraising”).




                                                     14
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 16 of 22                       PageID #: 66



       In this case, by contrast, the burden that § 306 imposes on Plaintiffs is far more severe,

because the unenrollment of LPME’s members not only deprives Plaintiffs of the essential

information they need to determine which voters want to associate with them, but also, it deprives

them of the one thing they must have to be ballot-qualified under Maine law – enrolled members.

See §§ 303, 301(E). Section 306 negates the results of Plaintiffs’ voter-enrollment effort and

renders null and void all the time, money and resources they dedicated to it. And because Maine

does not allow Plaintiffs to qualify LPME by petition, see § 303(3) (repealed), they have no choice,

if they wish to continue their association as a political party, but to undertake the arduous and

expensive voter-enrollment process anew, as if they had not already enrolled 6,240 members. This

severe burden is in addition to the deprivation of information found to be a “severe,” “heavy” and

“considerable” burden in Green Party of N.Y., Atherton and CAPP, respectively.

       Standing alone and as applied in combination, therefore, §§ 304 and 306 severely burden

Plaintiffs’ First and Fourteenth Amendment rights.

               D.      No Legitimate – Much Less Compelling – State Interest Justifies the
                       Severe Burdens That Maine Law Imposes on Plaintiffs’ First and
                       Fourteenth Amendment Rights.

       The Supreme Court has long “recognized the constitutional right of citizens to create and

develop new political parties,” which “advances the constitutional interest of like-minded voters

to gather in pursuit of common political ends, thus enlarging the opportunities of all voters to

express their own political preferences.” Norman v. Reed, 502 U.S. 279, 288 (1992) (citations

omitted). Thus, “to the degree that a State would thwart this interest by limiting the access of new

parties to the ballot,” it must demonstrate “a corresponding interest sufficiently weighty to justify

the limitation.” Id. at 288-89 (citation omitted). State laws that impose a severe burden must “be

narrowly drawn to advance a state interest of compelling importance.” Id. at 289. Sections 301(E),

303, 304, 306, 331(1) and 335(2),(5) fail that test.
                                                 15
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 17 of 22                          PageID #: 67



        §§ 301(E), 303: Maine has determined that a new party demonstrates a sufficient modicum

of support to participate in its electoral process by enrolling 5,000 members. See § 303. Even if

the severe burden and expense of complying with that provision could be justified by Maine’s

legitimate regulatory interests – a dubious proposition under Anderson and LPME I, given that

Maine could allow the less burdensome alternative of qualifying by petition (Ex. 1, Decl. of C.

Lyons, ¶ 6; Ex. 3, Decl. of J. Baines, ¶ 7; Ex. 9, Decl. of R. Winger, ¶¶ 4-5) – no interest can justify

the additional burdens that § 301(E) imposes. Defendant’s designated witness, Deputy Secretary

Julie Flynn, conceded as much in a deposition. (Ex. 10, Dep. of J. Flynn, 43/18 - 44/8 (conceding

that 5,000 enrolled members demonstrates the “necessary modicum of support for a party to begin

participating in the Maine electoral system.”).) Ms. Flynn stated that the purpose of § 301(E),

which requires that a new party ensure that 10,000 enrolled members vote in the first election after

it qualifies, is to eliminate smaller parties who do not have “any chance of winning.” (Id. at 14/11

- 14/23.) That is not a legitimate state interest. States may restrict ballot access to parties that

demonstrate a modicum of support, not to parties that demonstrate a chance of winning an election.

See Jenness, 403 U.S. at 442.

        As to legitimate state interests, Defendant fails to offer any credible basis for concluding

that § 301(E) is narrowly tailored to advance them. In the current election cycle, for example, Ms.

Flynn acknowledged that only three parties – Democrats, Republicans, and Greens – are ballot-

qualified. When asked whether the addition of a fourth party, LPME, might pose any danger of

voter confusion or ballot splintering, Ms. Flynn evaded the question: “I don’t know how to answer

that.” (Id., 20/17 - 21/16.) Defendant asserts no other interest to justify § 301(E).

        § 331(1), 335(2),(5): Defendant also fails to show that Maine has a compelling (or

legitimate) interest in requiring that a new party select its nominees by primary election pursuant

to § 331(1), while making it impossible or near-impossible for the new party’s candidates to qualify
                                                  16
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 18 of 22                      PageID #: 68



for the primary election ballot pursuant to § 335(2),(5). According to Ms. Flynn, the purpose of §

335 is to ensure that each primary candidate demonstrates a modicum of support among the general

electorate. (Id., 39/3 - 40/19.) But § 335 expressly provides that primary candidates must obtain

signatures from voters “who are enrolled in the party,” § 335(2), not voters who belong to the

general electorate. Thus, § 335 cannot possibly serve Defendant’s asserted state interest. It is not

even rationally related to that interest.

        Moreover, Defendant has publicly advocated in support of legislation that would amend §

331(1) to permit smaller parties such as LPME to nominate by convention rather than by primary

election. Defendant prepared and submitted the proposed legislation pursuant to the “Settlement

and Release Agreement” that disposed of LPME 1. (Ex. 11, Amended Notice of Rule 30(b)(6)

Dep. of M. Dunlap, Attachment B (Settlement) ¶ 1, and Ex. B to Attachment B (Legislative

Proposal) at 7 (Summary).) Defendant did so with the express intention of “address[ing] the legal

issues” raised in LPME 1. (See Summary at 7.) As Ms. Flynn testified, Defendant’s office, aided

by counsel, prepared and presented written and oral testimony in support of the legislation,

answered questions, and participated in work session discussions. (Ex. 10, Flynn Tr. 28/12 -

30/18.) Although the legislation was not enacted, Defendant’s support for eliminating the primary

election requirement confirms that § 331(1) is not narrowly tailored to further any compelling state

interest. A less burdensome alternative – allowing smaller parties to nominate by convention – is

not only available, but the method that most states use. (Ex. 9, Decl. of R. Winger, ¶¶ 6-10.)

        §§ 304, 306: Finally, the caselaw cited herein makes clear that Maine’s nominal interests

(whatever they may be) in unenrolling LPME’s members cannot justify the severe burdens that §

304 and § 306 impose. The evidence confirms that conclusion. Maine, like other states, is able to

enroll or unenroll voters virtually instantaneously, by means of a “batch process” that imposes a

minimal administrative burden, if any. (Ex. 7, Flynn Mem. (confirming that LPME members were
                                                17
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 19 of 22                         PageID #: 69



unenrolled pursuant to a “batch process” on the night of December 3, 2018).) In addition,

Defendant fails to assert any legitimate – much less compelling – state interest that the

disqualification and unenrollment requirements set forth in §§ 304 and 306 might further. To the

contrary, Ms. Flynn stated that the purpose of these provisions is to “free[] up” voters so that they

may “enroll in a different party that is more viable or help nominate candidates or even run as a

nonparty candidate or as a candidate of another party ... .” (Ex. 10, Flynn Tr. 57/12 - 58/21.) But

“freeing up” voters to enroll in other parties – contrary to the express preference indicated on their

voter enrollment cards – is not a legitimate state interest, much less is it a compelling interest that

can justify the severe burdens that §§ 304 and 306 impose on LPME and the voters who wish to

associate with it. In any event, as Ms. Flynn effectively conceded, voters are free to unenroll from

a party at any time, without such coercive action by the state. (Id. at 58/21-59/12.)


       II.     The Remaining Factors Weigh Heavily in Favor of Granting Plaintiffs’
               Limited Request for Preliminary Injunctive Relief.

       A plaintiff’s likelihood of success is the “sine qua non” of the four-part test for determining

whether a preliminary injunction should issue, but the remaining factors are also “important.”

Sindicato Puertorriqueño v. Fortuño, 699 F. 3d 1, 11 (1st Cir. 2012). Here, each factor weighs

heavily in favor of granting the requested injunction.

       Irreparable Harm: It is well-settled that “the loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Sindicato Puertorriqueño,

699 F. 3d at 10-11 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). Where plaintiffs

demonstrate that they are likely to prevail on First Amendment claims, therefore, “irreparable

injury is presumed.” Sindicato Puertorriqueño, 699 F. 3d at 11. But Plaintiffs do not rely on that

presumption alone, because the evidence amply demonstrates that the challenged provisions

infringe their “most precious freedoms.” Williams, 393 U.S. at 30 (finding that ballot access laws
                                                  18
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 20 of 22                        PageID #: 70



“place burdens on two different, although overlapping, kinds of rights—the right of individuals to

associate for the advancement of political beliefs, and the right of qualified voters, regardless of

their political persuasion, to cast their votes effectively”). Despite LPME’s status as a ballot-

qualified party, the challenged provisions barred all but one of its candidates from appearing on

Maine’s 2018 general election ballot, the party was thereafter disqualified, and its 6,240 members

were involuntarily unenrolled. As a result, unless this Court grants the requested relief, thousands

of Maine voters, including Plaintiffs, will be unable to associate with LPME and vote for its

candidates in Maine’s 2020 general election. Such injury constitutes irreparable harm.

       Balance of Equities and Public Interest: The balance of the equities and public interest

also weigh heavily in Plaintiffs’ favor. As to the equities, Plaintiffs complied with the requirements

for qualifying LPME as a new party under Maine law, see § 303, yet they were still prevented

from selecting and placing all but one of their nominees on Maine’s 2018 general election ballot

by operation of a primary election statutory scheme so restrictive as to be presumptively

unconstitutional as applied here. See §§ 331(1), 335. LPME was thereafter disqualified pursuant

to § 304 for failing to comply with a provision that serves no legitimate state purpose, see § 301(E),

and its members were involuntarily unenrolled pursuant to another provision that serves no

legitimate state purpose. See § 306. The inequity of this result is palpable: despite qualifying for

the ballot under Maine law, Plaintiffs were excluded from participating in Maine’s electoral

process, and as a consequence, their party was disqualified, leaving them no alternative but to

repeat the entire arduous and expensive statutory procedure for forming a new party –

notwithstanding the demonstrable futility of undertaking such an endeavor.

       By contrast, any conceivable burden that the requested injunction imposes on Defendant

would be negligible. The injunction would merely restore the status quo ex ante by preventing

Defendant from unenrolling LPME’s members – a task that can be done automatically using
                                                 19
Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 21 of 22                        PageID #: 71



Defendant’s computerized voter rolls – and by permitting LPME to select its nominees for the

2020 general election by convention rather than by primary election – a procedure that Defendant

has publicly endorsed. The granting of such relief will not burden or harm Defendant in any way.

       Finally, the requested injunction is in the public interest because Defendant has no

legitimate interest in enforcing an unconstitutional statutory scheme. The requested injunction will

also serve the public interest by protecting the First Amendment rights not only of Plaintiffs and

the 6,240 Maine residents who seek to associate with LPME, but also all Maine voters who seek

to cast their votes effectively in the 2020 general election.

                         CONCLUSION AND RELIEF REQUESTED

        For the foregoing reasons, the Court should grant Plaintiffs’ Motion for Preliminary

Injunction. Further, Plaintiffs respectfully request that the Court enter an order providing that: (1)

those voters who were registered Libertarian as of December 3, 2018 shall remain registered as

Libertarian; (2) LPME shall remain ballot-qualified for the 2020 general election; and (3) LPME

shall be permitted to select its nominees at its 2020 statewide convention rather than in Maine’s

2020 primary election.


Dated: March 4, 2020                                              Respectfully submitted,


                                                                  /s/John H. Branson
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Case 1:19-cv-00509-LEW Document 12 Filed 03/04/20 Page 22 of 22                  PageID #: 72



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2020, I filed the foregoing document using the Court’s

CM/ECF system, which will effect service upon all counsel of record.



                                                   /s/Oliver B. Hall
                                                   Oliver B. Hall
                                                   Plaintiffs’ Counsel
